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                            8UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


      UNITED STATES OF AMERICA,


      v.                                             CASE NO. 8:21-cr-348-SDM-SPF


      JEREMY BROWN,
      ___________________________________/


                                             ORDER

            After docketing (Doc. 372-1) a copy of a certificate of the pardon of Jeremy

      Brown by President Donald J. Trump and after confirming, with respect to the of-

      fenses alleged in the second superseding indictment (Doc. 250), that “the offenses of

      conviction in this case are intended to be covered by this Pardon,” (Doc. 372) the

      United States moves (Doc. 376) unopposed under Rule 48(a), Federal Rules of Crim-

      inal Procedure, to dismiss with prejudice the second superseding indictment (and, de-

      rivatively, perforce the pardon, both the superseding indictment (Doc. 159) and the

      indictment (Doc. 21), both of which allege only offenses included in the second su-

      perseding indictment). After an oral argument, the Eleventh Circuit Court of Ap-

      peals relinquished (Doc. 375) jurisdiction to the district court to “consider and rule

      upon” the United States’ motion.

            The United States’ motion (Doc. 376) is GRANTED, the judgment (Doc.

      357) is VACATED, and the second superseding indictment — and, derivatively,
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      perforce the pardon, both the superseding indictment (Doc. 159) and the indictment

      (Doc. 21) — are DISMISSED WITH PREJUDICE. The clerk must close the case.

      Another motion (Doc. 371) to dismiss by a person, whose standing to appear and

      move in this action is unestablished and apparently absent, is DENIED AS MOOT.

            ORDERED in Tampa, Florida, on April 2, 2025.




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